                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:02-00084
                                             )        JUDGE CAMPBELL
ANTONIO L. CASON, JR.                        )


                                            ORDER

         Pending before the Court is the Defendant’s Petition To Terminate Supervised Release

(Docket No. 83). The Government shall file any response to the Motion on or before July 19,

2013.

         IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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